                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               MCALLEN DIVISION

 JUANA CRUZ, ET AL.,                           §
                                               §
               Plaintiffs,                     §            CAUSE NO. 7:25-CV-00015
 v.                                            §
                                               §
 DELIA GARZA A/K/A DELIA LUBIN,                §
 SOFIA LUBIN A/KA SOFIA TREVINO,               §            RELATED ACTION:
 LORENA LUBIN, AND ALEJANDRO                   §            CAUSE NO.: 7:23-CV-0343
 TREVINO,                                      §
           Defendants.                         §
                                               §

                DEFENDANT SOFIA LUBIN’S ORIGINAL ANSWER TO
                   PLAINTIFFS’ FIRST AMENDED COMPLAINT

       Defendant Sofia Lubin (“Defendant”) hereby files this Original Answer to Plaintiffs Juana

Cruz, et al.’s (“Plaintiffs”) First Amended Complaint [ECF No. 25] (“Complaint”).

       ORIGINAL ANSWER TO PLAINTIFFS’ FIRST AMENDED COMPLAINT

       Pursuant to Rule 8(b) of the Federal Rules of Civil Procedure, Defendant denies each and

every allegation set forth in the Complaint except for those expressly and specifically admitted

below. The adoption of Plaintiffs’ headings for organizational purposes does not reflect an

admission of any kind. Defendant’s numbered responses set forth her admissions, denials, and

statements regarding a lack of knowledge or information.

                                I.     DISCOVERY LEVEL

       1.     Defendant admits the allegations in Paragraph 1.

                              II.    PARTIES AND SERVICE

       2.    Defendant is without sufficient information to admit or deny the allegations in
Paragraph 2.

       3.    Defendant is without sufficient information to admit or deny the allegations
Paragraph 3.


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       4.       Defendant admits the allegations in Paragraph 4.

       5.       Defendant denies the allegations in Paragraph 5.

                              III.        JURISDICTION AND VENUE

       6.       Defendant admits the allegations in Paragraph 6.

       7.       Defendant admits that venue is proper in Hidalgo County, Texas.

                                          IV.    INTRODUCTION

       8.       The allegations in Paragraph 8 do not contain any factual allegations that require

admission or denial from Defendant. To the extent a response is required, Defendant denies the

allegations in Paragraph 8.

       9.       Defendant denies the allegations in Paragraph 9.

       10.      Defendant is without sufficient information to admit or deny the allegations in

Paragraph 10.

       11.      Defendant denies the allegations in Paragraph 11.

       12.      Defendant denies the allegations in Paragraph 12.

       13.      Defendant denies the allegations in Paragraph 13.

                                     V.         NATURE OF CLAIMS

       14.      Defendant admits that Plaintiffs purport to bring this lawsuit as a collective action

under the RICO Acts. Defendant denies the remaining allegations in Paragraph 14.

       15.      Defendant denies the allegations in Paragraph 15.

   A. Fraudulent Concealment

       Defendant denies the allegations in Subsection A.

   B. Exploitation of Undocumented Individuals/ Government Records

       Defendant denies the allegations in Subsection B.



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                                         VI.    FACTS

       16.     Defendant denies the allegations in Paragraph 16.

       17.     Defendant denies that she has an ownership interest, manages, or operates “Delia’s

Tamales.” To the extent Plaintiffs’ reference of “Delia’s Tamales” meant the entity Delgar Foods,

LLC d/b/a Delia’s (“Delgar Foods, LLC”), Defendant is without sufficient information to admit

or deny the allegations that she “manages” or “operates” Delgar Foods, LLC because the terms are

undefined and conclusory. Defendant admits that she has an ownership interest in Delgar Foods,

LLC and that Delgar Foods, LLC’s principal place of business is in Hidalgo County, Texas.

       18.     Defendant denies that she manages or operates “Delia’s Tamales.” To the extent

Plaintiffs’ reference of “Delia’s Tamales” meant the entity Delgar Foods, LLC, Defendant is

without sufficient information to admit or deny the allegations in Paragraph 18 because the terms

“managed” and “operated” are undefined and conclusory. Defendant admits that Delgar Foods,

LLC has locations at the addresses listed in Paragraph 18.

       19.     To the extent Plaintiffs’ reference of “these restaurants” meant the entity Delgar

Foods, LLC, Defendant denies that Jose Elias NG was employed by Delgar Foods, LLC.

Defendant admits that the remaining Plaintiffs were employed by Delgar Foods, LLC.

       20.     Defendant denies that it managed and operated “Delia’s Tamales.” To the extent,

Plaintiffs’ reference of “Delia’s Tamales” meant the entity Delgar Foods, LLC, Defendant is

without sufficient information to admit or deny the allegations in Paragraph 20 because the terms

and phrases “managed,” “operated,” “handling and working on materials/goods” and “moved in

or produced for commerce” are undefined and conclusory.




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       21.      To the extent Plaintiffs’ reference of “Delia’s Tamales” meant the entity Delgar

Foods, LLC, Defendant admits that she is a member of Delgar Foods, LLC. Defendant denies the

remaining allegations in Paragraph 21.

       22.      Defendant is without sufficient information to admit or deny the allegations in

Paragraph 22 because the allegations are conclusory.

       23.      Defendant is without sufficient information to admit or deny the allegations in

Paragraph 23.

       24.      Defendant is without sufficient information to admit or deny whether “Plaintiffs

believed social security and income tax deductions from their pay . . . were being credited to their

social security account and IRS accounts.” Defendant denies the remaining allegations in

Paragraph 24.

       25.      Defendant denies the allegations in Paragraph 25.

       26.      Defendant denies the allegations in Paragraph 26.

   A. First Cause of Action Fraudulent Concealment

       27.      Defendant denies the allegations in Paragraph 27.

       28.      Defendant denies the allegations in Paragraph 28.

       29.      Defendant denies the allegations in Paragraph 29.

   B. Second Cause of Action: Exploitation of Undocumented Immigrants/Government Records

       30.      Defendant denies the allegations in Paragraph 30.

       31.      To the extent that Plaintiffs’ reference of “Delia’s Tamales” meant the entity Delgar

Foods, LLC, Delgar Foods, LLC received a letter from U.S. Immigration and Customs

Enforcement requesting proof of certain Plaintiffs’ employment authorization. The letter stated

that without proof, certain Plaintiffs could not be employed by Delgar Foods, LLC. As such,



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Defendant admits that Delgar Foods, LLC terminated certain Plaintiffs because they could not

provide proof of their employment authorization. Defendant denies the remaining allegations in

Paragraph 31.

   C. Third Cause of Action: Violations of the Texas Civil RICO Conduct/Federal Civil RICO

       32.      Defendant denies the allegations in Paragraph 32.

       33.      Defendant denies the allegations in Paragraph 33.

       34.      Defendant denies the allegations in Paragraph 34.

       35.      Defendant denies the allegations in Paragraph 35.

       36.      Defendant denies the allegations in Paragraph 36, including subparagraphs (a), (b),

and (c) following Paragraph 36.

       37.      Defendant denies the allegations in Paragraph 37.

       38.      Defendant denies the allegations in Paragraph 38.

       39.      Defendant denies the allegations in Paragraph 39.

       40.      Defendant denies the allegations in Paragraph 40.

       41.      Defendant denies the allegations in Paragraph 41.

       42.      Defendant denies the allegations in Paragraph 42.

       43.      Defendant denies the allegations in Paragraph 43.

       44.      Defendant denies the allegations in Paragraph 44.

   D. Piercing the Corporate Veil

       45.      Defendant admits that Delgar Foods, LLC is a limited liability company formed

and existing under the law of the State of Texas. Defendant denies the remaining allegations in

Paragraph 45.




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                                      VII.       JURY DEMAND

       46.       Defendant acknowledges that Plaintiffs request a jury trial.

                        VIII. REQUEST FOR INITIAL DISCLOSURES

       47.       Defendant acknowledges that Plaintiffs have requested initial disclosures.

Defendant complied with this Court’s order for Disclosure in lieu of initial disclosures on March

24, 2025.

                                           IX.     PRAYER

       48.       The remainder of the Complaint is a prayer for relief requiring neither admission

nor denial by Defendant. To the extent a response is required, Defendant denies that Plaintiffs are

entitled to any relief, including that identified in the prayer, and denies any allegations contained

in the prayer.

                 DEFENDANT’S DEFENSES AND AFFIRMATIVE DEFENSES

       Without conceding that she bears the burden of proof as to any issue, Defendant asserts the

following defenses and affirmative defenses to some or all of Plaintiffs’ claims and/or damages

requests, each in the alternative and to the extent necessary and applicable:

       1.        Pursuant to Federal Rule of Civil Procedure 8(a), Plaintiffs have failed to plead

with sufficient facts and specificity.

       2.        Plaintiffs have failed to state a claim for which relief can be granted.

       3.        Defendant did not take actions in violation of any federal, state or local law, rule or

regulation.

       4.        Plaintiffs’ claims are barred, in whole or in part, because they lack standing to bring

the claims alleged.




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       5.      Plaintiffs’ claims are barred, in whole or in part, because Defendant did not owe

Plaintiffs a fiduciary duty, nor did Defendant breach any alleged fiduciary duty or other duty owed

to Plaintiffs, nor did Defendant commit fraud.

       6.      Plaintiffs’ claims are barred, in whole or in part, because they have received, or

were offered and refused, all payments to which they were entitled under the law pursuant to 29

U.S.C. § 216(c) or otherwise. Plaintiffs cannot seek to obtain damages for which they have already

been compensated by a collateral source.

       7.      Plaintiffs’ claims are barred, in whole or in part, by the doctrine of unjust

enrichment.

       8.      The Complaint fails to state facts sufficient to support an award of actual,

compensatory, punitive, exemplary or liquidated damages. Plaintiffs’ claims are therefore

speculative, uncertain, theoretical, and non-justiciable.

       9.      Plaintiffs’ claims are barred because they have sustained no damages.

       10.     Plaintiffs’ claims for damages, which are denied, were the direct and/or proximate

result of one or more acts and/or omissions of Plaintiffs and/or third parties over whom Defendant

exercised no control and had no duty or right to control.

       11.     Plaintiffs’ claims are barred, in whole or in part, to the extent the alleged actions or

inactions of Defendant’s agents, employees or representatives, if they occurred, were not

performed or taken with authority or within the course and scope of their employment for Delgar

Foods, LLC.

       12.     Plaintiffs’ claims are barred, in whole or in part, by the doctrine(s) of waiver,

laches, consent, acquiescence, ratification, unclean hands, failure of conditions precedent, failure




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to exhaust administrative remedies, mitigation, res judicata, accord and satisfaction, spoliation,

lack of authority, and/or collateral or judicial estoppel.

       13.     Defendant reserves the right to amend this Answer, to add additional defenses or

affirmative defenses, to delete or withdraw any of her defenses or affirmative defenses, to seek

attorneys’ fees and costs under any applicable law, and to add counterclaims as may become

necessary after a reasonable opportunity for discovery.

                                              PRAYER

       Defendant respectfully requests that Plaintiffs take nothing in this suit; that Plaintiffs’

claims be dismissed with prejudice; that all relief prayed for by Plaintiffs be denied; and that the

Court enter final judgment in favor or Defendant and against Plaintiffs on all claims. Defendant

further requests that the Court award Defendant her attorneys’ fees, costs of court and litigation

expenses incurred in connection with the defense of this matter, as well as any other or additional

relief as the Court deems just and equitable.

 Dated: April 17, 2025                              Respectfully submitted,

                                                    PORTER HEDGES LLP

                                                    By: /s/ William R. Stukenberg
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                                                ATTORNEYS FOR DEFENDANT
                                                SOFIA LUBIN


                               CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of this document was served on all
counsel of record via this Court’s electronic filing system on April 17, 2025.



                                                       /s/ Lorena D. Valle
                                                       Lorena D. Valle




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